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                             UNITED STATES DISTRICT COURT                                  JS-6
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES - GENERAL

   Case No.    CV 22-1151-DMG (AGRx)                                    Date   August 23, 2022

   Title Mark Short v. David Berger, et al.


   Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                 Kane Tien                                               Not Reported
                Deputy Clerk                                             Court Reporter

      Attorneys Present for Plaintiff(s)                       Attorneys Present for Defendant(s)
                Not Present                                               Not Present

  Proceedings: IN CHAMBERS - ORDER DISMISSING ACTION

         In light of the parties’ Stipulation of Dismissal filed on August 22, 2022 [Doc. # 65], the
  Court hereby DISMISSES this action without prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).
  Defendants' Motion to Dismiss [Doc. # 60] is hereby DENIED as moot. All scheduled dates and
  deadlines are VACATED.

  IT IS SO ORDERED.




   CV-90                            CIVIL MINUTES - GENERAL                Initials of Deputy Clerk KT
